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     1         MONTANA NINETEENTH JUDICIAL DISTRICT COURT

     2                        LINCOLN COUNTY

     3

     4   Cause No. DV-96-11

     5   STUART and JUDY CANNON,
         husband and wife,
     S
                    Plaintiff a,
     7

     8
         W.R. GRACE & CO. -Conn, a
     9   Connecticut corporation,
         and DOES I-tV,
    10
                    Defendants.
    11

    12

    13
                               DEPOSITION OF
    14
                               STUART CANNON
    15
                       (On Behalf of Defendants,)
    16

    17

    18

    19

    20

    21   Offices of Mccarvey, Heber].ing, Sullivan & MeGarvey
                         745 South Main Street
    22                    ICalispell, Montana
                 Monday, August 23, 1999    --9:00 a.m.
   23

    24
         Reported by Beth Gilman, RPR and Notary Public for
   25         the State of Montana, County of Flathead


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         1    primarily, and maybe he could shed some light on

         2    it.     Like I say though, he wasn’t there so they just

         3    sent me to this other fellow.

         4            Q.     Other than getting logs dropped on you and

         5    things like      --    things that are traumatic injuries,

         6    have you lost any time from work in the last two or

         7    three years from any other cause?

         8           A.      The only Lime I’ve lost any work is having

         9    to go to, these doctors and these meetings like this

    10        and stuff like that.         No.

    11               Q       Now, you worked up at Zonolite as a        --   in
    12       different positions.           I think I have a list of those

    13       here.        Maybe I don’t.        My recollection is that you

    14       first worked as a sweeper.

    15               A.     Yes, that’s right.

    16               Q.      In the dry mill,

    17               A.     Yeah.

    18               Q.     I’ll bet I have one here someplace,

    19                              MR. GRAHAM:     Is it in one of the
   20        Exhibits, Roger?

   21                               MR. SULLIVAN:     It’s an exhibit, Gary,
   22        yes, and it’s      --




   23                            MR. GRAHAM:        SOS, I bet.
   24                            MR. SULLIVAN:        508.
   25        BY MR. GRAHAM:


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         1              Q.      Okay.   Dry mill sweeper for about one and

         2    a half months.

         3            A.        I believe so, yes.

         4            Q.        And then a tester in the test lab for

         5    about a year.

         6           A.         I would say that was probably right.

         7           Q.        And then a mine dump man for a month,              and
         8    then you drove a euclid for three years and a month,

         9    and that put you at just a little bit over four

    10        years of employment up there.

    11               A.        That’s right, yes.

    12               Q.        Okay.    Now, when you first went to work

    13        there in 1960, tell me what                  --   I don’t know what to
    14       àall it, maybe orientation or whatever, where they

    15       told you about your job and that sort of thing.                      Can

    16       you tell me what that was, what that process was?

    17               A.        I went to the office down on Mineral

    18       Avenue, their office, and I think Bill Dorrington

    19       was the personnel man.           Anyway, he hired me, and I

    20       don’t    --      I don’t even remember if I had to have a

   21        physical, you know, before I went to work.                     But
   22        anyway,         I was dispatched up on the hill and told to

   23        go to the warehouse, and             -   -




   24              Q.         Bill Dorrington told you to do that; did

   25        he?


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         1 ,anYone?

         2         A.      No,   not really.

         3         Q.      And I assume            -.   and from your testimony

         4    that you’ve given before,                 it was a ob that paid

         5    reasonably well for the time period.

         6         A.      It paid a little better than J. Niels

         7    Lumber Company did at that time, you know,                 for   -   -   I

        8     suppose you would consider me a laborer, you know.

        9          Q.      Okay.   So you go up there.             Then what that

    10       next day?

    11            A.       I reported in to the warehouse,, which was

    12       run by Shorty Welch.             I was issued a hard hat and,                 I
    13       believe, a respirator.                That was the only thing they

    14       furnished as tar as      -   -




    15            Q.     You had to provide the rest of your               --




    16            A.     Gloves,    coveralls if you had them, and

    17       that stuff.     Oh,   a hard hat.             Did I mention that?

   18             Q.     Yeah, you mentioned hard hat.

   19             A.     Yeah.

   20             Q.     So you had a hard hat and I believe a

   21        respirator.

   22             A.     Yes.

   23             Q.     Prom the warehouse.               Then who were you

   24        told to report to?

   25            A.      My shift foreman was Harvey Noble.                Called


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         1    him Mike Noble.

         2             Q.    And you reported to him?

         3             A.    Yeah.

         4             Q.    Now, what did he tell you about the job

         S    that you were going to be doing, to your           -   -




         6         A.        That I would be starting on the top floor,

        7     which was,      I believe, the sixth or seventh floor,

        B     and would be sweeping all this dust and stuff floor

        9     by floor,      and I had to get all those floors done

    10       within an eight-hour period.

    11             Q.        So you would do one sweep-down in the

    12       eight-hour period.

    13             A.       Yes.

    14             Q.       Okay.    And you would have been the only

    15       sweeper on duty during that eight-hour period?

   16             A.        Yes, there was one per shift.

   17             Q.        And how many other people do you recall

   18        being in the dry mill?

   19             A.        Well, there were   --   Like the test lab
   20        personnel,      they were in there probably a half hour
   21        out of every hour collecting samples.          There were
   22        the dry mill operators, and then of course your

   23        maintenance personnel that were in to repair and

   24        stuff throughout the day.

   25             Q.        Maintenance would come and go?


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         1               A,       Yeah.   Maybe some clays they wouldn’t be

         2    there at all and other days they would be there.

         3               Q.       An I recall, there was a top floor

         4    operator, a bottom floor operator                  -




         S           A.           I believe there were two operators per

         6    shift, but, you know            --    Yeah, I think so.
         7           Q.           Yeah, I think     --




         8           A.           I’m not sure, Gary.

         9           Q.           So you would end up with maybe about three

    10       people that were on site all the time during the

    11       day.

    12               A.       Yes.

    13               Q.       Now, would you be there all day long, Stu?

    14              A.        Yes.

    15               Q.       And that would be for the month and a half

    16       that you worked there.

    17              A.        tjh-huh.

    18              Q.        Did Harvey Noble tell you anything about

    19       the dust in the drymi].l?

    20              A.        Tell me anything about it?

    21              Q.        Yes.

   22               A.        I    --




   23               Q.        Do you remember any comments that he made

   24        about the dust,            whether it would be          -   -




   25               A.        He didn’t have to say nothing.                 It was


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         1    evident, you know.

         2           Q.     I understand that, but what I’m trying to

         3    get to is whether he told you what it was made up

         4    of,   that you should wear your respirator to protect

         5    against the dust?

         6           A.     No.        No,       nothing.    I was told nothing.

         7           Q.     Okay.              And so he just showed you how to do
         8    it and you     -   -    As I understand it from your earlier

         9    descriptions,           what you would do would be to sweep

    10        everything into a hole and it would go down to the

    11       next floor and            -   -




    12              A.     Yeah,           there were shoots that went down and

    13       directly,     I guess, onto the belt that went outside.

    14              Q.     Did the shoots go                --   For instance,   did

    15       they shoot from the top floor, go all the way down

    16       to the belt at the bottom, or did you                      --   did it just

    17       go from floor to floor?

    18              A.     It must have went to the belt, you know.

    19       It’s hard for me to recollect, but it wouldn’t make

   20        sense just to dump it on the other floor and have to

   21        redo it.

   22               Q.     Have to resweep it.

   23               A.     There was your normal fallout,                    I’m sure,

   24        because they were wood floors.                      I’m sure there must

   25        have been a shoot that went right to the waste belt.


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         1          A.    Yeah.    That was the only type of

         2    ventilation there was.

         3          Q.    Was there visible dust in the air of the

         4    bus or was it just stuff that was dirty on the

         5    floor?

         6         A.    Well,    for instance, I remember one time we

         7    were coming down,     and the road in them days up to

         8    the mine was pretty bad, and you would hit a bump

         9    and, boy, the dust would just fly, and then of

    10        course it would settle back down.         But normally I
    11        would say you couldn’t see it just-floating around,

    12        not like the dry mill,    for instance.
    13             Q.    Not like the dry mill.        There wasn’t any
    14       other place up there like the dry mill though.

    15            A.     No,   there wasn’t.

    16            Q.     The only place that you would have

    17       dustiness that you could really visually see would

    18       be as people moved around on the roadways or had

    19       explosions in the mine.        Would that be right?

   20             A.     Primarily, yeah, the road was dusty and           - -



   21        and more so in the summer, but still dusty in the

   22        winter, you know, because it would get so cold.

   23        Once it gets below zero,       there’s no mud.     It’s all
   24        dust, you know.      It’s pert’ near as dusty in the

   25        winter sometimes as it is in the summer,         if you


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          1            A.      My home dusty?

         2             Q.      Yeah.     Did the dust that you had on your

         3     jeans when you got home, did that go into the home

         4     or into the wash?

         5             A.      Well, it come into the home first, and          --




         6     But as far as it being dusty, the wife kept it

         7     pretty good,       if that’s what you mean.         But I did
         8     bring it in with me.

         9             Q.     And that was all kinds of dust,          I mean,
     10        that’s from       -    Whatever the makeup of the dust was

     11       up at the mill, you brought it home.

    12                A.      Yeah, it come home on my clothes.

    13                Q.      Clearly from your description of how the

    14        bus was, your home wasn’t anywhere close to being as

    15        dusty as the bus was.

    16                A.      It was pretty bad.

    17                Q.      The bus was.

    18                A.      In more ways than one.       Yeah.

    19                Q.      Okay.     I want to divert a little minute to

    20        the health matters, and the first thing that I have

    21        to ask you about i your visit to Dr. Whitehouse in

    22        1992.        Can you tell me what precipitated that

    23        visit?        How did you happen to go to him then?

   24                 A.     Well,     I had noticed I was getting shorter

   25         of breath, shorter of breath over the years.               I used


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         1   to hunt a lot and like to do stuff like that,

     2       outdoor stuff, and, boy,                it was getting increasingly

     3       harder for me to do this.

     4                         And about that time I think I was talking

     S       to Terry Smith, and his dad                   --   I can’t remember his

     6       name, but he had been diagnosed as having

     7       asbestosis, I believe, and in talking, Boy, you

     8       better get checked.              So I think I went to Dr.

     9       Knecht, I believe, and asked him about it, and I

    10       think he referred me to Dr. Whitehouse.

    11               Q.        One of the things that’s interesting to me

    12       is that I can’t find any                --    I can’t find any record

    13       of Dr. Knecht making a note about that.                       Would it

    14       have been in connection with some other employment,

    15       do you think, or           --




    16               A.        Boy, I don’t know how it came about, you

    17       know, that.          What you’re saying is there’s no

    18       records of him saying anything to me?

    19               Q.        Well, yeah, Dr. Knecht’s file, that I have

    20       at least, doesn’t have either a note saying that he

    21       was going to refer you to Dr. Whitehouse or in fact

    22       anything else right about that time.

    23               A.        Well,   Dr.   Knecht sent me over there,         and I

    24       think    -   -




    26               Q.        But did you go to Dr. Knecht because you


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          1    know,       ice fish, do a lot of things.           I don’t do that

          2    any more.        I just can’t do it.

          3            Q.      Okay.     Do you have any physical

         4     limitations in your view other than just the idea of

         S     the shortness of breath?

         6             A.      Shortness of breath is a primary thing.

         7     just    --    And with loss of air or breathing,           you know,

         8    shortness of breath, you don’t function.                   You got no

         9    strength,        you know.     You just want to sit down and

     10       rest.         So I’m limited in      --    We buy our wood now

     11       because I can no longer saw it and cut it.                  There’s

     12       a lot of things showing up now that I can’t do.

     13               Q.      Do you heat with wood?

    14                A.      Yes, primarily.           I have electricity, but

    15        it’s just backup.            It’s primarily fireplace insert

    16        that I heat with.

    17                Q.      You’ve been seeing Dr. Whitehouse off and

    18        on.     When is the last time you saw him?

    19                A.      I believe in December of last year,           I

    20        think.

    21                Q.      My--

    22                A.      Either December or January.

    23                Q.      Yeah,    I have December of 1998.

    24              A,        Right.

    25              Q.        That would have been last year.


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          1         A.      Right.

          2         Q.      At that time he said that you had

         3     increasing cough.       How has that been since then?

         4          A.      I cough a lot in comparison any more, and

         5     the wife noticed that too.

         6          Q.      What is it?     Is it a dry cough or       --




         7          A.      Yeah.    I never cough up much phlegm or

         8     anything.     Just a dry,    hacking,       tickling cough.

         9          Q.     Are there times you do it more than

     10        others?

     11             A.     Yeah,    I cough a lot I guess when I’m

     12        sleeping at night.

    13              Q.     Sleeping at night.      Okay.

    14                     Whitehouse in his last report says, and

    15        this is December of last year, We had a discussion

    16        about prognosis and long-term outlook for his

    17        disease.

    18                     What did you discuss with him in that

    19        regard?

    20             A.      I think that I had gotten considerably

    21        worse since the prior examination, which probably

    22        would have been a year or six months prior to that.

    23        He had noted a significant change.

    24             Q.      Anything else that he said about

    25        prognosis,    long-term outlook?


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         1        A.      Wasn’t good.

         2        Q.      And--

         3        A.      In comparison to what it had been.

     4            Q.      And so did he tell you that it was going

         5   to continue to progress or that it was going to               - -




         6   that it could stop or it could         -   -




     7            A.      o.      He assumed that   --      Or this is what he

     B       told me, I think, that it would continue to get

     9       worse and worse and worse.        He couldn’t give tue a

    10       time frame as to, say, when it’s going to kill you,

    11       you know.     Every individual, as I understand it, is

    12       different,     But he said just from his observations

    13       and stuff,    it had gotten quite a bit worse quite

    14       rapidly.     I went along it seemed like kind of on a

    15       plateau for awhile, and then in that last one it

    16       really got worse.

    17            Q.      Did he indicate that he felt that any of

    18       your problems still were related to your problems

    19       smoking back in the earlier days?

    20            A.      I think he told me that there was some

    21       signs of emphysema also, along with the asbestosis.

    22           Q.       Yeah.    Now, you went and        --   Did Dr. Smith

    23       do an examination of you?

    24           A.       Yes.

    25           Q.       I’m trying to remember.           I think I have it


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